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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION

                                     CASE NO.: 1:21-cv-22948-PCH


  EMIGDIO ANTONIO DE GRACIA,

                        Plaintiff,
  v.

  ROYAL CARIBBEAN CRUISES LTD.
  d/b/a ROYAL CARIBBEAN GROUP

                        Defendant.
                                                            /


                DEFENDANT’S MOTION TO COMPEL ARBITRATION AND
                            DISMISS THE COMPLAINT

         Defendant ROYAL CARIBBEAN CRUISES LTD. d/b/a ROYAL CARIBBEAN

  GROUP (“RCL”), by and through undersigned counsel, pursuant to Rule 12(b) of the Federal

  Rules of Civil Procedure hereby files its Motion to Compel Arbitration and Dismiss the

  Complaint and in support thereof state as follows:

                                      I.       Summary of Argument

         Plaintiff Emigdio Antonio de Gracia filed a personal injury action against RCL to recover

  damages from injuries he allegedly sustained while working as an Inventory Manager at

  CocoCay Island.    At the time of the alleged incident, Plaintiff was employed by Admiral

  Management, Inc. (“AMI”) under an Employment Agreement that requires that all disputes be

  resolved by binding arbitration. Plaintiff has already initiated arbitration against AMI alleging

  the same conduct he alleges here.        Now, he brings this action in the alternative, alleging RCL

  and AMI are in a joint venture to build and operate CocoCay Island.




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          International arbitration agreements such as the Employment Agreement are subject to

  the United Nations Convention on the Recognition and Enforcement of Foreign Arbitral Awards

  (“The Convention”).            Although RCL is the only Defendant in the Complaint, Plaintiff’s

  Complaint alleges substantially interdependent and concerted misconduct between RCL and

  AMI and joint breaches of duty towards Plaintiff. He further alleges that RCL employees signed

  the Employment Agreement on behalf of AMI. Although only Plaintiff and AMI signed the

  Employment Agreement, RCL may compel Plaintiff to arbitrate his claims under general

  contract principles. Energy Power Conversion Fr. SAS v. Outokumpu Stainless USA, LLC, No.

  18-1048, 140 S.Ct. 1637, 2020 U.S. LEXIS 3029 at *20-21 (2020)(held non-signatories may

  enforce arbitration agreements under domestic-law equitable estoppel doctrine.                 Thus, the

  absence of a written arbitration agreement is not an impediment to enforcing arbitration.

  Accordingly, the Court should enter an Order (1) directing Plaintiff to proceed to arbitration, as

  he agreed to do when he signed his employment contract, and (2) dismissing the Complaint.1

                                     II.      Undisputed Statement of Facts

          1.       Plaintiff, Emigdio Antonio de Gracia, is a resident, domiciliary, and citizen of

  Panama. See Complaint attached as Exhibit “A” at ¶ 2.

          2.       On or about March 8, 2019, Plaintiff entered into an Employment Agreement with

  non-party AMI with permanent shoreside duties at CocoCay as an Inventory Manager. See

  Employment Agreement attached as Exhibit “B” at pg. 1.

          3.       In the Complaint, Plaintiff alleges that at all times material, RCL “co-owned and

  co-operated CocoCay, a private island in the Bahamas,” with AMI, not named as a defendant in

  this litigation. Id. at ¶ 7.

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   Because this Motion is brought under 9 U.S.C. §206, it does not raise the substantive problems
  with the Complaint, such as its failure to state a claim.
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          4.      Plaintiff alleges that at all times material to the events which gave rise to

  Plaintiff’s claims against RCL, RCL and AMI “were engaged in a joint venture to build,

  construct, improve and operate CocoCay; making each other jointly and severally liable for the

  negligent acts of the others.” Id. at ¶ 8.

          5.      Plaintiff further alleges that RCL and AMI shared joint control or right of control

  of the joint venture; shared a joint proprietary interest in the development and operation of

  CocoCay; and shared profits and losses. Id. at ¶ 9.              He further alleges that RCL employees

  signed the Employment Agreement on behalf of AMI. Id.

          6.      Accordingly, Plaintiff’s relationship with AMI is governed by the Employment

  Agreement which requires that all disputes be resolved by mandatory arbitration in the Bahamas.

          This employment agreement shall be governed by, construed and interpreted in
          accordance with the Laws of the Bahamas. In the event of a dispute, the Laws of
          the Bahamas shall apply, and the Company and the Employee agree that all
          disputes of any nature arising out of or in anyway connected related to
          Employee’s employment or to any other dispute with the Company, including
          for death, personal injury, illness, medical care, wages and benefits, whether
          brought under common law, contract or statutory grounds shall be resolved
          by mandatory arbitration in the Bahamas with one arbitrator mutually agreed by
          the parties. The arbitration shall be administered by the American Arbitration
          Association under its International Center for Dispute Resolution procedures. Each
          side shall share equally the cost of any arbitration and each side shell bear it’s on
          attorney’s fees and costs associated with the arbitration. (emphasis added).

  See Exhibit “B” at ¶ 15.

          7.      Even though the only signatories to the Employment Agreement are Plaintiff and

  AMI, RCL may compel Plaintiff to arbitrate his claims under general contract principles of

  agency, (United States v. Schaltenbrand, 930 F. 2d 1554, 1560 (11th Cir. 1991); equitable

  estoppel (Armas v. Prudential Sec., Inc., 842 So. 2d 210, 212 (Fla. 3d DCA 2003); and third

  party beneficiary (Zac Smith & Co. v. Moonspinner Condo. Ass’n, 472 So. 2d 1324-25, (Fla. 1st

  DCA 1985).
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         8.      On May 27, 2021, Plaintiff filed suit against RCL for Jones Act Negligence;

  General Negligence; Failure to Provide Entire Maintenance and Cure; Failure to Provide Prompt,

  Proper and Adequate Medical Care; and Unseaworthiness. See Exhibit “A.”

         9.      In addition to alleging that RCL and AMI shared joint control of the joint venture;

  shared a joint proprietary interest in the development and operation of CocoCay; and shared

  profits and losses (Id. at ¶ 9), throughout the Complaint Plaintiff alleges that RCL and “its joint

  venturers” caused, contributed and/or played a substantial part in breaching their duties to

  Plaintiff and causing his injury. See e.g., Id. at ¶¶ 37, 42, and 52.

         10.     Plaintiff’s claims arise out of his employment and pursuant to the terms and

  conditions of the Employment Agreement wherein the parties are mandated to submit all

  disputes to arbitration. Moreover, Plaintiff’s allegations of substantially interdependent and

  concerted misconduct between RCL and AMI and joint breaches of duty towards Plaintiff

  require arbitration of Plaintiff’s claims against RCL under the equitable estoppel doctrine.

         11.     Indeed, Plaintiff commenced arbitration against AMI on or about September 15,

  2020. In the Third Amended Statement of Claim in arbitration, Plaintiff makes same allegations

  against AMI that he makes here against RCL regarding substantially interdependent and

  concerted misconduct between RCL and AMI and joint breaches of duty towards Plaintiff. See

  Third Amended Statement of Claim attached hereto as Exhibit “C.” To the extent Plaintiff had

  any claims against RCL the same should have been brought in arbitration as well.

                                           III.     Memorandum of Law

         A.      Plaintiff’s Claims Are Subject to Arbitration.

         All of Plaintiff’s claims are subject to arbitration despite attempting to circumvent this

  outcome by asserting claims against a non-signatory to his Employment Agreement.

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  International arbitration agreements such as the Contract of Employment are subject to the

  United Nations Convention on the Recognition and Enforcement of Foreign Arbitral Awards.

  As further discussed below, the Supreme Court has ruled that a non-signatory such as RCL may

  compel Plaintiff to arbitrate his claims under the equitable estoppel doctrine. See GE Energy

  Power Conversion Fr. SAS v. Outokumpu Stainless USA, LLC, No. 18-1048, 140 S.Ct. 1637,

  2020 U.S. LEXIS 3029 at *20-21.

         Defendant has been aggrieved by Plaintiff’s lawsuit against them and failure to submit

  his claims to arbitration as required by the Employment Agreement. Plaintiff’s claims arise out

  of his employment with AMI and are subject to the Employment Agreement which includes an

  arbitration clause and mandates the Plaintiff to submit to arbitration all disputes against is

  employer. Accordingly, at the time this action was instituted, this dispute was and is subject to

  mandatory arbitration. Therefore, this Court should order Plaintiff to submit his disputes to

  arbitration pursuant to the terms of his Employment Agreement.

         B.      Federal Law Favors Arbitration

         Federal law strongly favors agreements to arbitrate, particularly in international

  commercial transactions. See Scherk v. Alberto-Culver Co., 417 U.S. 506 (1974). In Mitsubishi

  Motor Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614 (1985), the Supreme Court held:

         Concerns of international comity, respect for the capacities of foreign and
         transnational tribunals, and sensitivity to the need of the international commercial
         system for predictability in the resolution of disputes require that we enforce the
         parties’ agreement, even assuming that a contrary result would be forthcoming in a
         domestic context.


  Id. at 629. In Lindo v. NCL (Bahamas), Ltd., 652 F.3d 1257, 1275 (11th Cir. 2011), the Eleventh

  Circuit held that there is ample precedent “in favor of freely-negotiated contractual choice of law

  and forum selection provisions, and this presumption applies with special force in the field of
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  international commerce.” In Adolfo v. Carnival Corp., Case No. 02-23672, 2003 U.S. Dist.

  LEXIS 24143 (S.D. Fla. Mar. 17, 2003), the Southern District held “[q]uestions of arbitrability

  must be addressed with a healthy regard for the federal policy favoring arbitration … and doubts

  concerning the scope of arbitrable issues should be resolved in favor of arbitration.” (relying

  upon Mitsubishi Motors Corp. 473 U.S. at 626). Further, in D’Cruz v. NCL (Bahamas) Ltd.,

  Case No. 1:15-CV-20240-KING (S.D. Fla. Mar. 30, 2015), Judge King granted defendant’s

  motion to compel arbitration in a case involving an American seaman who entered into an

  employment contract which required arbitration of “any and all claims, grievances, and disputes

  of any kind whatsoever relating to or in any way connected with the Seaman’s shipboard

  employment . . . no matter how described, pleaded or styled.” Id. at *1-2. In furtherance of

  enforcing an arbitration provision, a case may be removed at any time before trial when there is

  an agreement to arbitrate which falls under The Convention. Hall v. Celebration Cruise

  Operator, Inc., Case No. 14-62245-CIV-DIMITROULEAS (S.D. Fla. Dec. 24, 2014); see also 9

  U.S.C. § 205.

         C.       The Convention Act

         The United States has implemented The Convention through the enactment of 9 U.S.C.

  §§ 201-208 to enforce international arbitration agreements such as the Contract of Employment

  signed by Plaintiff. The Convention provides that a court possessing jurisdiction under The

  Convention may direct arbitration be held in accordance with the agreement at any place therein

  provided for, whether that place is within or without the United States. 9 U.S.C. § 206.

         In light of the strong policy favoring arbitration, courts should conduct “a very limited

  inquiry” in deciding whether to compel arbitration pursuant to The Convention. Bautista v. Star

  Cruises, 396 F.3d 1289 (11th Cir. 2005); Francisco v. Stolt Achievement MT, 293 F.3d 270, 272

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  (5th Cir. 2002); Ledee v. Ceramiche Ragno, 684 F.2d 184 (1st Cir. 1982). See also Lujan v.

  Carnival Corp., No. 11-23826-CIV-SCOLA, 2012 WL 1104253 (S.D. Fla. Apr. 2, 2012). Quite

  simply, “the Act leaves no place for the exercise of discretion by a district court, but instead

  mandates that district courts shall direct the parties to proceed to arbitration on the issues as to

  which an arbitration agreement has been signed.” Sedco, Inc. v. Petroleos Mexicanos Mexican

  National Oil Co., 767 F.2d 1140, 1147 (5th Cir. 1985).

         The Court must order arbitration if the following four conditions are met: (1) there is an

  agreement in writing to arbitrate the dispute, (2) the agreement provides for arbitration in the

  territory of a Convention signatory, (3) the agreement arises out of a commercial legal

  relationship, and (4) a party to the agreement is not an American citizen, or that the commercial

  relationship has some reasonable relation with one or more foreign states. See Bautista, 396 F.3d

  at 1294-95. See also Henriquez v. NCL (Bahamas), Ltd., No. 09-16344, 2011 WL 3890357

  (11th Cir. 2011); Francisco, 293 F.3d at 273; Vera v. Cruise Ships Catering & Services

  International, N.V., Case No. 13-62022-CIV-SCOLA, 2014 WL 12478007 (S.D. Fla. May 6,

  2014); Doe v. Royal Caribbean Cruises, 365 F. Supp. 2d 1259 (S.D. Fla. Mar. 18, 2005); aff’d,

  Doe v. Royal Caribbean Cruises, 180 Fed. Appx. 893 (11th Cir. May 18, 2006). Here, all four

  conditions are met; thus, arbitration must be compelled.

         1.      There is an Agreement in Writing to Arbitrate

         On March 8, 2019, Plaintiff executed an Employment Agreement wherein he agreed to

  arbitrate all claims related to his employment. See Exhibit “B” at ¶ 15. Specifically, Paragraph 15

  of the Employment Agreement provides that:

         This employment agreement shall be governed by, construed and interpreted in
         accordance with the Laws of the Bahamas. In the event of a dispute, the Laws of
         the Bahamas shall apply, and the Company and the Employee agree that all
         disputes of any nature arising out of or in anyway connected related to
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            Employee’s employment or to any other dispute with the Company, including
            for death, personal injury, illness, medical care, wages and benefits, whether
            brought under common law, contract or statutory grounds shall be resolved
            by mandatory arbitration in the Bahamas with one arbitrator mutually agreed by
            the parties. The arbitration shall be administered by the American Arbitration
            Association under its International Center for Dispute Resolution procedures. Each
            side shall share equally the cost of any arbitration and each side shell bear it’s on
            attorney’s fees and costs associated with the arbitration. (emphasis added).

  See Id.

            The broad and unambiguous language of the Employment Agreed shows the parties

  agreed and intended to resolve any and all disputes of any nature by binding arbitration.

  Therefore, the first condition is satisfied as the subject arbitration provision in the Employment

  Agreement binds the parties to resolve Plaintiff’s claims through arbitration and not the courts.

            2.     The Agreement Provides for Arbitration in the Territory of a Convention
                   Signatory

            The Employment Agreement provides that the arbitration shall take place in Nassau,

  Bahamas. See Exhibit “B” at ¶ 15.               The Bahamas is a signatory to the United Nations

  Convention on the Recognition and Enforcement of Foreign Arbitral Awards through its

  ratification of The Convention. Therefore, the second condition is satisfied.

            3.     The Agreement Arises Out of a Commercial Legal Relationship

            The third condition is satisfied because the agreement to arbitrate arises from a

  commercial legal relationship. Federal courts have consistently found that seamen employment

  contracts similar to Plaintiff’s constitute a commercial legal relationship for the purposes of

  compelling arbitration. See Francisco, 293 F.3d at 273. Specifically, the Southern District of

  Florida has found that crew member employment contracts containing an arbitration provision

  satisfied the commercial legal relationship requirement for purposes of compelling arbitration.

  See Hall v. Celebration Cruise Operator, Inc., Case No. 14-62245-CIV-DIMITROULEAS (S.D.

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  Fla. Dec. 29, 2014) citing Amon v. Norwegian Cruise Lines, Ltd., Case No. 02-21025-CIV-

  HUCK, 2002 WL 32851545, at *4 (S.D. Fla. Sep. 25, 2002) (order granting motion to compel

  arbitration). See also Bautista v. Star Cruises and Norwegian Cruise Line, Ltd., 286 F. Supp. 2d

  1352, at *34-35 (S.D. Fla. 2003), aff’’d, Bautista v. Star Cruises, 396 F.3d 1289 (11th Cir. 2005)

  (affirming order granting motion to compel arbitration). Each of these courts resolved this issue

  by concluding that the contract of employment and agreement to arbitrate therein arose out of a

  commercial legal relationship. Further, the language of the Employment Agreement clearly

  expresses its commercial nature. See Exhibit “B”. Accordingly, the third condition is satisfied.

                 4.     At Least One of the Parties to the Employment Agreement is Not a
                        Citizen of the United States

         Finally, the fourth condition is satisfied because at least one of the parties to the

  agreement is not an American citizen. Specifically, Plaintiff is a citizen of Panama. See Exhibit

  “A” at ¶ 2. It is undisputed that Plaintiff is not a citizen of the United States. Thus, the fourth

  condition is met.

         D.      Having Satisfied the Four Conditions, the Motion to Compel Should be
                 Granted

         Once the moving party has met the burden in showing that there is an agreement to

  arbitrate, Plaintiff has the burden of proving the clause itself is null and void, inoperative or

  incapable of being performed. See Art. II (3) of the Convention; see also Lindo, 652 F.3d at

  1276; and Bautista, 396 F.3d at 1301-02. Here, the burden to show that there is an agreement to

  arbitrate has been satisfied. In considering the affirmative defenses, this Court must consider the

  evidence submitted by the Plaintiff not in light of “domestic” concerns over possible “hard

  bargaining” by an employer, but rather with deference to the unique circumstances of foreign




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  arbitration and the drafters’ concerns that agreements not be judged with parochial views of

  desirability. Id.

          E.    The Eleventh Circuit Court Has Consistently Enforced Arbitration
          Agreements

          Although Plaintiff’s duties were shore-based, he alleges he was a Jones Act Seaman.

  Even if true, these allegations do not serve as an impediment to arbitration. The Eleventh Circuit

  Court of Appeals has consistently enforced arbitration provisions in seamen’s employment

  agreements in accordance with The Convention. Specifically, in Escobar v. Celebration Cruise

  Operator, Inc., 482 Fed.Appx. 475 (11th Cir. 2012), the court held equitable estoppel required a

  seaman to arbitrate his claim against cruise line even though the cruise line was not a signatory

  to the employment contract. Some of the notable Eleventh Circuit decisions enforcing similar

  arbitration provisions in crewmember employment contracts are summarized below.

          In Lindo v. NCL (Bahamas) Ltd., 652 F.3d 1257 (11th Cir. 2011), the Eleventh Circuit

  affirmed an Order of the Southern District of Florida requiring the seaman to arbitrate his Jones

  Act claim under Bahamian law (the law of the flag state of the vessel). In enforcing the

  arbitration provision contained in the seaman’s employment contract, the Eleventh Circuit

  followed its decision in Bautista, supra. The Eleventh Circuit in Lindo held that the Bautista

  court “followed the clear weight of the Supreme Court’s and [Eleventh] Circuit’s precedent.”

  The Lindo court further held U.S. statutory claims are arbitrable absent a clear contrary intent

  expressed by Congress. See Lindo, 652 F.3d at 1271.

          The Lindo opinion included a detailed analysis of the defenses available under The

  Convention and explained that the defenses available under the Convention depend on the stage




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  of enforcement.2 Specifically, Article II of The Convention provided the defenses available at

  the arbitration clause enforcement stage. See 9 U.S.C § 206. Under Article II, a seaman may

  avoid arbitration if: the clause being enforced is null and void or the clause is incapable of being

  performed. See Lindo, 652 F.3d at 1272. Moreover, the null and void defense is limited to the

  standard breach of contract defenses such as fraud, mistake, duress, and waiver which can be

  applied neutrally on an international scale. Id.

         Conversely, Article V of the Convention provides seven (7) defenses available at the

  arbitration award enforcement stage allowing a court the right to reject the enforcement of an

  arbitration award. See 9 U.S.C. § 207. The Article V defenses include the “public policy”

  defense which allows the court the right to refuse to enforce an award if the enforcement would

  be contrary to the public policy of the country in which enforcement is sought. Id.

         The Lindo decision was followed by multiple decisions in which the Eleventh Circuit

  enforced similar contractual provisions calling for arbitration in a foreign jurisdiction applying

  foreign law. See Escobar v. Celebration Cruise Operator, Inc., 805 F. 3d 1279 (11th Cir. 2015)

  cert. den. 136 S. Ct. 1158 (2016); Wong v. Carnival Corp., 599 Fed. Appx. 355 (11th Cir. 2015);

  Escobal v. Celebration Cruise Operator, Inc., et. al., 482 Fed. Appx. 475 (11th Cir. 2012) cert.

  den. 133 U.S. 1995 (2013); Paucar v. MSC Crociere S.A., et. al., 2014 WL 57740 (11th Cir.

  2014); Quiroz v. MSC Mediterranean Shipping Co., S.A., et. al., 522 Fed. Appx. 655, 662 (11th



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    The Eleventh Circuit has uniformly held that Article II applies at the arbitration-enforcement
  stage and Article V applies at the award-enforcement stage. See Bautista, 396 F. 3d at 1301–02
  (analyzing Article II “null and void” defense at arbitration-enforcement stage); Lobo v. Celebrity
  Cruises, Inc., 488 F. 3d 891, 894–96 (11th Cir. 2007); Four Seasons Hotels & Resorts, B.V. v.
  Consorcio Barr, S.A., 533 F. 3d 1349, 1350–53 (11th Cir. 2008); Czarina, L.L.C. v. W.F. Poe
  Syndicate, 358 F. 3d 1286, 1291, 1292 n. 3 (11th Cir. 2004); and Indus. Risk Insurers v. M.A.N.
  Gutehoffnungshutte GmbH, et. al., 141 F. 3d 1434, 1441–46 (11th Cir. 1998).

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  Cir. 2013); and Fernandes v. Carnival Corp., 484 Fed. Appx. 361 (11th Cir. 2012) cert. den. 133

  S.Ct. 1793 (2013); and Henriquez v. NCL (Bahamas) Ltd., 440 Fed. Appx. 714 (11th Cir. 2011).

          The Southern District has enforced arbitration in many cases where the seaman’s claims

  were similar to those of the Plaintiff in the case at bar in that the complaint sought damages for

  Jones Act negligence, unseaworthiness, and failure to provide maintenance and cure. See Isanto

  v Royal Caribbean Cruises, Ltd., No. 20-cv-23715, 2020 U.S. Dist. LEXIS 197318 *7; 2020 WL

  6262981 (S.D. Fla. Oct. 23, 2020)(holding that “district courts have consistently enforced

  seamen’s arbitration agreements”). See also Alberts v. Royal Caribbean Cruises, Ltd., 834 F. 3d

  1202 (11th Cir. 2016)(affirming the Order of the lower court enforcing the arbitration provision

  in the employment contract of an American seaman); Azavedo v. Royal Caribbean Cruises, Ltd.,

  4 F. Supp. 1357 (S.D. Fla. Feb. 28, 2014)(holding Royal Caribbean Cruises, Ltd.’s arbitration

  clause was enforceable). See also Orozco v. Princess Cruise Lines, Ltd., 2010 WL 3942854

  (S.D. Fla. Oct. 7, 2010). See also Moro v. NCL (Bahamas) Ltd., Case No. 12-244130-cv-

  Williams (S.D. Fla. Apr. 24, 2013)(The Convention’s language creates a presumption in favor of

  arbitration.); and Ballesteros v. NCL (Bahamas), Ltd., 2013 WL 588328 (S.D. Fla. Feb. 13,

  2013)(There is a federal interest to enforce arbitration agreements even if the contract requires

  the application of foreign law.)

          F.      Plaintiff Cannot Escape Arbitration By Filing Suit Against A Non-
                  Signatory

          Enforcement of arbitration agreements pursuant to The Convention requires a written

  agreement to arbitrate which may be in the form of an arbitral clause in a contract “signed by the

  parties.”    See Art. II of The Convention.           Although only Plaintiff and AMI signed the

  Employment Agreement, RCL may compel Plaintiff to arbitrate his claims under general



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  contract principles. The absence of a written arbitration agreement is not an impediment to

  enforcing arbitration.

         The doctrine of equitable estoppel allows non-signatories to compel arbitration. GE

  Energy Power Conversion Fr. SAS v. Outokumpu Stainless USA, LLC, No. 18-1048, 140 S.Ct. at

  1645 (non-signatories may enforce arbitration agreements under domestic-law equitable estoppel

  doctrine). The text of the Convention is silent on the right of a non-signatory’s right to enforce

  an arbitration agreement under the doctrine of equitable estoppel. Id. at 1645. However, the GE

  Energy court held “the New York Convention does not conflict with the enforcement of

  arbitration agreements by non-signatories under domestic-law equitable estoppel doctrines.” Id.

  at 1648.

         Indeed, enforcement of arbitration agreements is common in both domestic and

  convention cases. See GE Energy. at 1646. (“The courts of numerous contracting states permit

  enforcement of arbitration agreements by entities who did not sign an agreement.” ). See also

  Armas v. Prudential Securities, Inc., 842 So.2d 210, 212 (Fla. 3d DCA 2003)(held claims of

  concerted misconduct arising out of the same factual allegations warrant enforcement of

  arbitration under equitable estoppel). Sawgrass Ford, Inc. v. Vargas, 214 So.3d 691, 693 (Fla.

  4th DCA 2017); MS Dealer Service Corp. v. Franklin, 177 F.3d 942, 947 (11th Cir. 1999)

  abrogated on other grounds, Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 631 (2009).

         In Escobal v. Celebration Cruise Operator, Inc., the Southern District enforced

  arbitration in a case involving a non-signatory holding that the doctrine of equitable estoppel

  allows non-signatories to the contract to compel arbitration. Escobal v. Celebration Cruise

  Operator, Inc., Case No. 11-21791-CV-UNGARO at * 5 (S.D. Fla. Jun. 23, 2011), aff’m

  Escobal v. Celebration Cruise Operator, Inc., 482 Fed. Appx. 475, 476 (11th Cir. 2012). There,

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  the court held that equitable estoppel required a seaman to arbitrate his claims of Jones Act

  negligence and unseaworthiness even though one of the defendants was not a signatory to the

  employment contract. Escobal, 482 Fed.Appx. at 476. The seaman in Escobal argued he could

  not be compelled to arbitrate his claim against the cruise line because it was not a signatory to

  the arbitration agreement. The Escobal court held that the seaman's unseaworthiness claim

  against cruise line was inextricably intertwined with his Jones Act claims against cruise ship

  operator and equitable estoppel required that he arbitrate his claim against a non-signatory to the

  employment contract that included a mandatory arbitration provision. Id.

          Similarly, in Aggarao v. MOL Ship Management Co., Ltd., 675 F.3d 355 (4th Cir. 2012),

  a seaman entered into an employment agreement requiring resolution of his claims by arbitration.

  After suffering injuries, Aggarao sued his employer, shipowner, and other entities alleging

  negligence pursuant to the Jones Act and general maritime law. The defendants, including non-

  signatories3, enforced arbitration. The Fourth Circuit affirmed the enforcement of arbitration and

  held:

          Without a doubt, however, “a nonsignatory to an arbitration clause may, in certain
          situations, compel a signatory to the clause to arbitrate the signatory's claims
          against the nonsignatory despite the fact that the signatory and nonsignatory lack
          an agreement to arbitrate.” Am. Bankers Ins. Group, Inc. v. Long, 453 F. 3d 623,
          627 (4th Cir. 2006) . . . Most relevant here, the doctrine of equitable estoppel
          applies “ ‘when the signatory to the contract containing the arbitration clause
          raises allegations of ... substantially interdependent and concerted misconduct by
          both the non-signatory and one or more of the signatories to the contract.’ ”
          Brantley v. Republic Mortg. Ins. Co., 424 F. 3d 392, 396 (4th Cir. 2005) (quoting
          MS Dealer Serv. Corp. v. Franklin, 177 F. 3d 942, 947 (11th Cir. 1999)
          (alterations omitted)).

  See Aggarao, supra, 675 F. 3d at 373.



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    In Aggarao, the employment agreement was not signed by the vessel’s owner, operator or
  charterer.
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         The seaman in Aggarao argued that estoppel did not apply because each entity had a

  separate role and each owed him distinct duties. Id. at 373-74. The Aggarao court rejected the

  seaman’s arguments because Aggarao asserted the same causes of action against each defendant

  and made identical allegations as the basis for liability. Id. See also Sourcing Unlimited, Inc. v.

  Asimco Intern., Inc., 526 F. 3d 38, 47 (1st Cir. 2008) (held the signatory to the contract was

  equitably estopped from avoiding arbitration with the non-signatory); Khan v. Parsons Global

  Sevices, Ltd., 480 F. Supp. 2d 327 (D.D.C. Mar. 30, 2007), rev. on other grounds, 521 F. 3d 421

  (D.C. Cir. 2008) (held all non-signatory defendants were able to enforce the arbitration

  agreement against employee and his wife (non-signatory)).

         The above demonstrates Plaintiff cannot escape arbitration simply by filing suit against a

  non-signatory. When a plaintiff claims concerted misconduct by the signatory and non-signatory

  arising out of the same factual allegations enforcement of arbitration is warranted under the

  doctrine of equitable estoppel. Armas, 842 So.2d at 212. Plaintiff in the case at bar asserts the

  same causes of action against RCL as those asserted against AMI in arbitration. See Third

  Amended Statement of Claim attached hereto as Exhibit “C.” Plaintiff claims RCL and AMI co-

  owned and co-operated CocoCay as a joint venture exercising joint control and sharing in the

  profits and losses. (Ex. “A” at ¶¶ 7-9). As a result, Plaintiff claims RCL and AMI are jointly and

  severally liable for Plaintiff’s accident. Id. Plaintiff’s claims against RCL are intertwined with

  those already being arbitrated against AMI and inherently inseparable. See J.J. Ryan & Sons,

  Inc., 863 F. 2d at 320-21. Moreover, Plaintiff’s allegations that that RCL and “its joint venturers”

  caused, contributed and/or played a substantial part in breaching their duties to Plaintiff and

  causing his injury (Id. at ¶¶ 37, 42, and 52) are allegations of concerted misconduct between

  RCL and AMI and joint breaches of duty towards Plaintiff that require arbitration of Plaintiff’s

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  claims against RCL under the equitable estoppel doctrine. In light of the above, Plaintiff is

  estopped from circumventing arbitration by filing suit against a non-signatory to the

  Employment Agreement. Therefore, Plaintiff should be required to arbitrate his claims as he

  agreed to do when he signed his Employment Agreement.

         G.      Dismissal Is Appropriate

         RCL submits that upon the entry of an order directing the parties to arbitration this cause

  should be dismissed. See Lindo v. NCL (Bahamas) Ltd., No. 09-22926-CIV, 2009 U.S. Dist.

  LEXIS 129452 at *10, 22 Fla. L. Weekly Fed. D 423, 2009 WL 7264038 aff’d Lindo, 652 F. 3d

  at 1287 (The district court’s dismissal was upheld after the arbitration was enforced.); Caley v.

  Gulfstream Aerospace Corp., 333 F. Supp. 2d 1367, 1379 (N.D.Ga. 2004), aff’d, 428 F.3d 1359

  (11th Cir. 2005)(holding complaint should be dismissed because there is no need for the Court to

  retain jurisdiction). There is ample authority requiring the dismissal of the plaintiffs’ complaint

  when all of the issues raised in the district court are subject to mandatory arbitration. Id.

                                                  IV.        Conclusion

         For the reasons set forth herein, Defendant ROYAL CARIBBEAN CRUISES LTD. d/b/a

  ROYAL CARIBBEAN GROUP respectfully moves this Court to enter an Order compelling

  Plaintiff to proceed to arbitration as established by the terms of his Employment Agreement and

  dismissing the Complaint.



  Dated: September 2, 2021                           Respectfully submitted,

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                                                     Attorneys for Defendant Royal Caribbean Cruises
                                                     Ltd.


                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 2, 2021, I electronically filed the foregoing

  document with the Clerk of the court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record or pro se parties identified on the attached Service List

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized to

  receive electronically Notices of Electronic Filing.

                                                              /s/ Gilda M. Chavez
                                                                Gilda M. Chavez




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